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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.: 1:2017-cr-20463
v.

MICHAEL SHANE MATTHEWS

 

UNOPPOSED MOTION TO ALLOW DEFENDANT TO TRAVEL TO MISSISSIPPI

COMES NOW, the Defendant, by and through the undersigned attorneys, files this Motion to
Travel to Mississippi. In support thereof the Defendant states:

1. On January 29, 2018 the Defendant was sentenced to 3 months incarceration followed by one
year supervised release in the above referenced cause.

2. The Defendant was ordered to surrender to the US Marshall on or before noon on June 1,
2018.

3. The Defendant is requesting to travel to Mississippi from April 10, 2018 through April 16,
2018 to visit family.

4. The undersigned has contacted Glenn McInnes, Supervising US Probation Officer with the
Northern District of Florida and he has no objection to this motion.

5. Defense Counsel has contacted Assistant United States Attorney, Kevin Larson regarding this

motion and Mr. Larson is not opposed.

WHEREFORE, it is respectfully requested that this Honorable Court enter its Order Allowing

Defendant to Travel to Mississippi in the above styled cause.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the forgoing has been furnished to Kevin

Larson, Assistant United States Attorney, Southern District of Florida at kevin.larson@usdoj.gov this 28"
day of February, 2018.

KINSELL LAW OFFICE

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